         Case 21-33369 Document 8 Filed in TXSB on 10/21/21 Page 1 of 4




                       IN THE UNITED STATES BANKRUPTCY COURT

                         FOR THE SOUTHERN DISTRICT OF TEXAS




   IN RE: PREFERRED READY-MIX, LLC                                  NO. 21-33369
                                                                    CHAPTER 11
    Debtor(s).


_____________________________________________________________________________________________



       APPLICATION FOR ORDER AUTHORIZING THE EMPLOYMENT AND
            RETENTION OF JESSICA L. HOFF OF HOFF LAW OFFICES
                      AS COUNSEL FOR THE DEBTOR

_____________________________________________________________________________________________


       The Debtor in the above captioned Chapter 11 case (“Debtor”), hereby applies to the Court,
pursuant to Fed.R.Bankr.P. 2014(a), 11 U.S.C. §§327 and 1107, for an order authorizing it to retain
and employ Jessica L. Hoff of Hoff Law Offices, P.C. (“HL”), as its legal counsel in the above-
captioned case and related proceedings. As grounds for this application, Debtor states the
following:


   1. Debtor seeks to employ Jessica L. Hoff, Esq. as chapter 11 general bankruptcy counsel

       pursuant to 11 U.S.C. § 327. The following information and documents are provided in

       support of this Motion. The Professional seeks compensation pursuant to: 11 U.S.C. § 328.

   2. The Debtor selected this Professional because the Professional is well qualified to represent

       the Debtor in this proceeding.

   3. Professional agrees to render legal services in connection with the Debtor’s chapter 11

       case, including but not limited to the following services: (A) Advise the Debtor regarding

       matters of bankruptcy law and concerning the requirements of the Bankruptcy Code, and
       Case 21-33369 Document 8 Filed in TXSB on 10/21/21 Page 2 of 4




   Bankruptcy Rules relating to the administration of this case, and the operation of the

   Debtor’s estate as a debtor in possession; (B) Represent the Debtor in proceedings and

   hearings in the court involving matters of bankruptcy law; (C) Assistance in compliance

   with the requirements of the Office of the United States trustee; (D) Provide the Debtor

   legal advice and assistance with respect to the Debtor’s powers and duties in the continued

   operation of the Debtor’s business and management of property of the estate; (E) Assist

   the Debtor in the administration of the estate's assets and liabilities; (F) Prepare necessary

   applications, answers, motions, orders, reports and/or other legal documents on behalf of

   the Debtor; (G) Assist in the collection of all accounts receivable and other claims that the

   Debtor may have and resolve claims against the Debtor’s estate; (H) Provide advice, as

   counsel, concerning the claims of secured and unsecured creditors, prosecution and/or

   defense of all actions; (I) Prepare, negotiate, prosecute and attain confirmation of a plan of

   reorganization;

4. A    declaration    by   the   Professional   provides   information    on   the   following:

   identification/qualifications; disinterestedness; compliance with FRBP 2014 and FRBP

   5002; and compensation arrangements.

WHEREFORE, the Debtor requests the authority to employ the Professional to represent the

Debtor in this case.


Dated 10/20/2021                                  By: s/ Jessica L. Hoff
                                                  Jessica L. Hoff, Counsel to Debtor

Dated 10/20/2021                                  By: s/ Lincoln M. Catchings, III
           Case 21-33369 Document 8 Filed in TXSB on 10/21/21 Page 3 of 4




                                  DECLARATION OF PROFESSIONAL

          I, Jessica L. Hoff, Esq., am duly licensed to practice before this Court.

          I, Jessica L. Hoff, Esq., was initially employed by the debtor and am familiar with the facts

and legal issues involved in the case.

          I, Jessica L. Hoff, Esq., do not represent or hold any interest adverse to the debtor or to the

estate with respect to the matter on which such attorney is to be employed.

          I, Jessica L. Hoff, Esq. have no connections with the debtor, creditors, any parties in

interest, the Bankruptcy Administrator, or the Trustee, other than with the representation of the

debtor and upon granting of this application, the estate, in the representation of the estate in this

action.

          The debtor has signed a contract with Jessica L. Hoff for representation regarding the cause

of action. The terms of the contract include attorney fees billable at a rate of $400.00 hour, $175.00

hour paralegal work, $75.00 hour secretarial work, plus reimbursement of out-of-pocket expenses.

I, Jessica L. Hoff understand that I cannot share any compensation with attorneys other than

members of my firm unless said professionals are also approved by this Court. I, Jessica L. Hoff

do not have any agreement to share compensation with other attorneys in this matter. I, Jessica L.

Hoff understand that I must make an application to the Court for approval of his/her fees and

expenses.


Dated October 21, 2021                   /s/ Jessica L. Hoff______________
                                         Jessica L. Hoff Counsel
                                          to Debtor
         Case 21-33369 Document 8 Filed in TXSB on 10/21/21 Page 4 of 4




                                      Hoff Law Offices, P.C.

                                      440 Louisiana St Suite 850
                                      Houston, TX 77002
                                      (303) 803-4438 Fax: (303) 648-4478

                                      CERTIFICATE OF SERVICE
 The undersigned hereby certifies that a true and correct copy of the APPLICATION TO
EMPLOY PROFESSIONAL PERSON and PROPOSED ORDER was served by placing the
same in the United States Mail, first class postage pre-paid, October 21, 2021 to the following and
those listed on the mailing matrix attached hereto:
                                                             s/Jessica L. Hoff, Esq.
